Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 1 of 13

  

Hoffman Employment Law, LLC

600 Jefferson Plaza Suite 204
Rockville, MD 20852
Phone: 301-251-3752 | Fax: 301-251-3753

Account Statement

Prepared for Heather Norris

Re: Plastic Surgery Services FLSA Claim

Previous Balance $0.00
Current Charges $28,238.90
New Balance $28,238.90
Adjustments $0.00
Payments $0.00
Now Due $28,238.90

Trust Account $0.00

 

   
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 2 of 13

Hoffman Employment Law, LLC

600 Jefferson Plaza Suite 204
Rockville, MD 20842
Phone: 301-251-3752 | Fax: 301-251-3753

PRE-BILL

Heather Norris
Invoice Date: February 06, 2020

Invoice Number: Pre-bill
Invoice Amount: $28,238.90

Matter: Plastic Surgery Services FLSA Claim

Attorney’s Fees

2/19/2019 Prepare and mail to PI. Norris copy of letter of JL, 10 $21.50
representation.
2/21/2019 Review email communications between HBH and JL, 10 $21.50

Pi. Norris re. details of employment and
applicability of exemption.

2/22/2019 Phone call w/ Pl. Norris re details of case and J.L. 80 $172.00
overview of going forward.

3/8/2019 Review comm from client re status of matter. 1.B.H. .10 $40.00

3/11/2019 Conference w/ GBH re. details of case for complaint JL. 30 $64,50
drafting.

3/11/2019 Conf. with JSL regarding underlying facts and legal G.H. 2.70 $553.50
theory of the case (.3);

Review case file, conduct legal research regarding
FLSA overtime exemptions (2.4).

 

3/14/2019 Conf. with HBH regarding client H. Norris’s work G.H. 4.60 $943.00
duties and schedule (.2);
Draft complaint (4.4),

3/15/2019 Review and respond to comm from H. Norris re H.B.H. 10 $40.00
status of withheld pay.

3/18/2019 Draft civil cover sheet and summons for complaint. G.H. 20 $41.00

3/19/2019 Review and revise complaint, adding minimum G.H. 1.00 $205.00
wage claims.

3/20/2019 Review HBH revisions to complaint, conf. with G.H. 90 $184.50

HBH regarding revisions (.1);

Review employee handbook provided by client as to
work hours and employee pto (.1);

Review series of emails from client regarding first

as

 
   
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 3 of 13

two weeks of pay, salary payments, and pto (.1);
Review and revise final complaint, prepare
documents for filing (.6).

3/21/2019 Review filed complaint. JL. 10 $21.50

3/25/2019 Review email from HBH to PI. re. filing of lawsuit. J.L. 10 $21.50

3/25/2019 Draft memo to process server and prepare G.H. 20 $41.00
documents for service of lawsuit on Defendants.

3/27/2019 Draft cover letters, and waiver of service documents G.H. E.10 $225.50

for Defendants HG and PSS, prepare mailing of
waiver of service documents and postage.

4/5/2019 Draft Notice of Request of Rule 4(d) Waiver. G.H. 20 $41.00

4/S/2019 Draft comm to G. Herbers re notice of waivers re H.B.H. .10 $40.00
Rule 4(d) request. Review response.

4/10/2019 Draft Notice of Request for Waiver of Service . G.H. .10 $20.50

A/11/2019 Review waivers of service filed on Defs. JL. 10 $21.50

4/24/2019 Conference w/ HBH and SEK on case status and J.L. 10 $21.50
assignment of duties. .

4/25/2019 Tele conf with opposing counsel re waiver of H.B.H. 10 $40.00
service.

4/30/2019 Review Case File: Pleadings and Rule 4(d) S.K, 1.10 $225.50
Notice/Waiver

5/14/2019 Confer w/ SEK re. damage calculations. JL. 30 $64.50

5/14/2019 Confer with JSL re: Damage Calculations S.K. 30 $61.50

5/14/2019 Call w/ Client re: Damages S.K. 30 $61.50

5/14/2019 Preparing Estimate of Damages S.K. .60 $123.00

5/15/2019 Confer w/ HBH re: Damage Calculations S.K. 60 $123.00

5/15/2019 Review comm. from client re status of matter. (.1 H.B.H. .70 $280.00

hrs). Confer with assoc atty (SK) re calculations re
settlement; discuss salary. (.6 hrs).
5/15/2019 Review comm from opposing counsel re waiver of H.B.H. 40 $160.00
service re corporate defendant; respond thereto. (.3
hrs). File waiver of service for individual
defendant. (.1 hrs).

 

  

5/15/2019 Review communications re: service S.K. 10 $20.50
5/17/2019 Review email from opposing counsel re. service, Jib. 20) $43.00
review pleadings file.
5/17/2019 Review communications re: Service S.K. 20 $41.00
5/23/2019 Damage Calculations S.K. 80 $164.00
5/28/2019 Damage Calculations S.K. 30 $61.50
5/28/2019 Briefly review Answer filed by Defendants. .B.H. 10 $40.00 e
5/29/2019 Entering Notice of Appearance S.K. 20 $41.00 ,
5/29/2019 Review D's Answer S.K. 40 $82.00
5/29/2019 Drafting Demand Letter S.K. 1.80 $369.00
5/29/2019 Review notice from Court re corporate disclosure. H.B.H. .10 $40.00
5/30/2019 Confer w/ HBH re: Demand Letter S.K. 20 $41.00
5/30/2019 Drafting Demand Letter S.K. 1.10 $225.50
5/30/2019 Review and revise ltr re settlement issues and H.B.H. 80 $320.00

demand. Confer with associate atty (SK) Draft

comm to opposing counsel attaching same; transmit.
5/31/2019 Review demand letter to defendants S.K. .20 $41.00
6/3/2019 Drafting Lodestar Statement S.K. AO $82.00

 
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 4 of 13

 

6/3/2019 Review emails between HBH and SEK re. lodestar JL. 10 $21.50
statements.
6/3/2019 Review billing records. Draft comm to assoc attyre H.B.H. 20 $80.00
lodestar. Review lodestar; comm. with assoc atty re
same.
6/5/2019 Review 103.3 Disclosure Statement S.K. 10 $20.50
6/16/2019 Review Court correspondence, H.B.H. 10 $40.00
6/24/2019 Draft emails to client re: status update S.K. 20) $41.00
6/24/2019 Review comms. from court re: scheduling S.K. 10 $20.50
6/24/2019 Review comm re scheduling of conference. H.B.H. 10 $40.00
6/25/2019 Review Amended Answer S.K. .60 $123.00
6/25/2019 Review Amended Answer. H.B.H. 10 $40.00
7/3/2019 Confer w/ HBH and SEK re. case status. IL. 10 $21.50
7/3/2019 Confer with associate attorneys re status of matter. H.B.H. 10 $40.00
7/3/2019 Confer w/ HBH and JSL re: case status and S.K, 10 $20.50
priorities
7/10/2019 Review emails between SEK and opposing counsel JL. 10 $21.50
re. scheduling for phone conference.
7/10/2019 Email counsel re: conference S.K. 20 $41.00
7/10/2019 Review docs re: conference with counsel S.K. AQ $82.00
7/10/2019 Email counsel re: scheduling call S.K. .10 $20.50
7/11/2019 Confer w/ HBH and JSL re: scheduling S.K. 20 $41.00
TAL1/2019 Confer w/ HBH and SEK re. scheduling in case. JL. 20 $43.00
7/12/2019 Review email from SEK summarizing phone confer. JL. .10 $21.50
w/ opposing counsel.
7/12/2019 Call w/ counsel re: scheduling S.K. 20 $41.00
F/A2/2019 Review docs re: scheduling S.K. 20 $41.00
7/12/2019 Confer w/ HBH re: scheduling S.K. .10 $20.50
7/15/2019 Review Redline Amended Answer S.K. 10 $20.50
7/22/2019 Review email from SEK re. summary of status JL. 10 $21.50
conference w/ Court re. scheduling.
7/22/2019 Review documents re: conference call with Judge S.K. 20 $41.00
Blake
7/22/2019 Conference call w/ Judge Blake S.K. .10 $20.50
7/22/2019 Review/Calendar Scheduling Order S.K. 30 $61.50
7/22/2019 Draft email to client re: case update S.K. 10 $20.50
7/23/2019 Review email from SEK to Pl. Norris re. scheduling JL. 10 $21.50
order and case status.
7/24/2019 Draft email to counsel re: production of docs S.K, 10 $20.50
7/24/2019 Prepare/Outline written discovery S.K. 1.10 $225.50 .
7/25/2019 Draft Interrogs S.K. 80 $164.00 .
7/26/2019 Draft email to counsel re: request for documents S.K. 10 $20.50 -
7/26/2019 Review email from SEK to opposing counsel re. JL. 10 $21.50 :
production of documents. L
7/29/2019 Review email and joint stipulation of enterprise LL. 10 $21.50 .
coverage. .
7/29/2019 Draft Interrogs S.K. 50 $102.50 .
T/29/2019 Draft Joint Stip re: Enterprise Coverage S.K. AQ $82.00 &
T29/2019 Draft email to counsel re: cooperative discovery and S.K. 20 541.00 L
joint stip -

7/29/2019 Confer with SK re status of matter and discovery. H.B.H. 10 $40.00

   
  
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 5 of 13

7/30/2019 Review email from counsel re: production of S.K. 10 $20.50
documents

7/31/2019 Draft Interrogs S.K. 80 $164.00

7/31/2019 Review email from HBH to opposing counsel re. iL. 10 $21.50
Joint stipulation re. enterprise coverage.

7/31/2019 Draft comm to counsel re enterprise stipulation. H.B.H. 20 $80.00

8/1/2019 | Review email from counsel re: discovery S.K. 10 $20.50

8/7/2019 Draft follow up comm to opposing counsel re H.B.H. 10 $40.00
stipulation.

8/7/2019 Draft Interrogatories to Garazo PA S.K. 80 $164.00

8/7/2019 Draft RPDs to Garazo PA S.K. 2.70 $553.50

8/9/2019 Review and revise Interrogatories and Request for H.B.H. 70 $280.00
Production of Docs.

8/9/2019 Edit Interrogs S.K. 40 $82.00

8/9/2019 Edit RPDs to Garazo PA S.K. 50 $102.50

8/9/2019 Review and edit interrogatories and requests for JL. 60 $129.00
production of documents.

8/9/2019 Edit/Mail [nterrogatories and RPDs to Defendants S.K. 1.30 $266.50

8/26/2019 Draft email to counsel re: proposed stipulation to S.K. 20 $41.00

enterprise coverage and request for dates for
depositions.
8/29/2019 Review emails between opposing counsel and HBH JL. 10 $21.50
re, stipulating to enterprise and FLSA/MWHL
coverage, and 30b6 deposition scheduling and

topics.

8/29/2019 Review email from counsel re: stipulating to S.K. 20 $41.00
enterprise coverage and scheduling depositions.

8/29/2019 Review and respond with lengthy comm to opposing H.B.H. 30 $120.00
counsel (TG) re enterprise coverage issues.

9/4/2019 Draft 30(b)(6) Notice of Depo of Corp. Designee. S.K. 1,20 $246.00

9/4/2019 Review email from opposing counsel to HBH re. LL. 10 $21.50
enterprise coverage and proposed stipulation.

9/4/2019 Comm with S. Kraff re corporate designee 30b6 H.B.H. 50 $200.00
notice; review and revise draft corporate designee
notice,

9/5/2019 Review email from HBH to opposing counsel re. JL. 10 $21.50
stipulating to coverage.

9/5/2019 Review and respond to comm from opposing H.B.H. 30 $120.00

counsel re stipulation re FLSA coverage, depo
scheduling, etc.

 

9/5/2019 Review email from Goorevitz re: response to request = S.K. 20 $41.00
for stip.

9/6/2019 Finalize Request for Admissions; transmit via email H.B.H. 10 $40.00
and US mail.

9/9/2019 Prepare copy of Complaint w/ comments of the T.J.M, 1.50 $225.00

Answer's response to each allegation .4

Prepare summary of Issues in Dispute 1.1

9/9/2019 Status Conference w/ HBH and SEK re. state of J.L. 10 $21.50
discovery responses and deadiine.

9/9/2019 Status Conference w/ HBH and JSL re. state of S.K. 10 $20.50

 
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 6 of 13

discovery responses and deadline.

9/9/2019 Cail w/ Norris re: case update and possible S.K. 20 $41.00
deposition dates.

9/10/2019 Draft email to expert witness Kimel re: expert S.K, 10 $20.50
report.

9/11/2019 Cail w/ Expert Witness Kimel re: calculations for S.K. .20 $41.00
expert report.

9/12/2019 Strategy confer w/ HBH and SEK re. scheduling JL. 20 $43.00
depositions and strategy for discovery stonewall.

9/12/2019 Strategy Conf. w/ HBH and JSL re: discovery S.K. .20 $41.00
responses and scheduling of depositions.

9/12/2019 Review email from HBH to opposing counsel re. IL. 10 $21.50
outstanding discovery and scheduling depo dates.

9/122019 Review email from opposing counsel to HBH JL. 10 $21.50

requesting extension to discovery response and depo
date scheduling.

9/12/2019 Draft comm to opposing counsel re outstanding H.B.H. 10 $40.00
discovery.

9/12/2019 Review response from opposing counsel re H.B.H. 10 $40.00
discovery.

9/13/2019 Review email from Goorevitz re: request for S.K. 10 $20.50
extension on discovery responses.

9/13/2019 Draft email to Norris re: deposition dates. S.K. 10 $20.50

9/16/2019 Draft email to Kime! re: expert calculations. S.K. 10 $20.50

9/16/2019 Review email from HBH to opposing counsel re. JL. 10 $21.50
objections, outstanding discovery and scheduling of
30b6 deposition.

9/16/2019 Review emails between HBH and opposing counsel JL. 10 $21.50

re, discovery production, enterprise coverage and
deposition dates,

 

9/16/2019 Review and respond to multi comm from opposing H.B.H. 60 $240.00
counsel re status of discovery.

9/16/2019 Review email from Goorevitz re: responses to S.K. 20 $41.00
discovery and stipulation.

9/19/2019 Call w/ Expert Mike Kimel re: expert calculations. S.K. 10 $20.50

9/20/2019 Review payroll records produced by Def. S.K. 30 $61.50

9/23/2019 Review email from Norris re: request for update. S.K. 10 $20.50

9/23/2019 Draft email to Norris re: case update and deposition S.K, 10 $20.50
dates.

9/23/2019 Review wage/hour documents produced by S.K. 1.50 $307.50
Defendants

9/23/2019 Review of email from HBH to opposing counsel re. JL. 10 $21.50
outstanding discovery.

9/23/2019 Draft comm to opposing counsel re extension to H.B.H. 10 $40.00
discovery.

9/23/2019 Briefly review payroll records produced. H.B.H. 20 $80.00

9/24/2019 Review email from SEK re. procedures for JL. 10 $21.50
discovery dispute conference call with Judge Blake.

9/24/2019 Status Conference w/ HBH and SEK re status of JL. 10 $21.50

discovery and need for extension of time.
9/24/2019 Status conf with associates re needs of case. H.B.H. 10 $40,00

 
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 7 of 13

 

9/24/2019 Status Conference w/ HBH and JSL re: status of S.K. 10 $20.50
discovery and need for extension of time.

9/24/2019 Two calls with Judge Blake's chambers re: S.K. 20 $41.00
procedure for discovery disputes.

9/24/2019 Draft Motion to Extend Scheduling Order. S.K. 80 $164.00

9/25/2019 Call w/ Norris re: Defendants’ production of S.K. 30 $61.50
documents.

9/25/2019 Review wage/hour documents produced by S.K. 1.20 $246.00
Defendants and record deficiencies and gaps in
production.

9/25/2019 Email expert Kimel re: extension on expert deadline. — S.K. 10 $20.50

9/25/2019 Create Spreadsheet to preliminary calculate total S.K, 30 $61.50
overtime worked by Norris.

9/25/2019 Draft Mot. to Ext. Sched. Order. S.K. 1.30 $266.50

9/25/2019 Review history of communications between counsel S.K. .80 $164.00
to reference in Mot. to Extend and notes for Mot. for
Sanctions.

9/25/2019 Review Motion for Extension of Time by assoc atty; H.B.H. 0 $200.00
revise same. Confer with S. Kraff re same.

9/26/2019 Draft Mot. for Sanctions S.K, 1.00 $205.00

9/27/2019 Review motions for sanctions. JL, .10 $21.50

9/27/2019 Document Review Conference w/ HBH re: edits to S.K. 40 $82.00
Motion for Sanctions

9/27/2019 Draft Motion for Sanctions and Prop. Order S.K. 1.60 $328.00

9/27/2019 Review and revise Motion for Sanctions; confer H.B.H. .80 $320.00
with S. Kraffre same.

9/30/2019 Review email from Goorevitz re recent Motions and S.K. 30 $61.50
failure to respond.

10/3/2019 Draft email to Norris re: update and review of S.K. 20 $41.00
wage/hour documents.

10/3/2019 Review email from opposing counsel re. mot. for JL. 10 $21.50
sanctions, discovery production, and lodestar
statement.

10/3/2019 Review email from Goorevitz re: follow up on S.K. 10 $20.50
email.

10/3/2019 Review comm from opposing counsel re status of H.B.H. 10 $40.00
matter.

10/4/2019 Call w/ Goorevitz re: response to Mot. for Extension SK. 20 $41.00
and Mot. for Sanctions

10/4/2019 Review amended scheduling order. JL. 10 $21.50

10/4/2019 Review time sheets produced by Norris. 5.K. 70 $143.50

10/4/2019 Review wage and hour documents from Defendants S.K, 50 $102.50
and compare with time sheets provided by Norris.

10/4/2019 Review Billing time and draft Lodestar Statement. S.K. 50 $102.50

10/4/2019 Review email from Norris re: review of documents. S.K. 10 $20.50

10/4/2019 Direction Conference w/ HBH re: status of S.K. 20 $41.00
Defendants' discovery.

10/4/2019 Calendar Dates in Amended Scheduling Order. S.K, 20 $41.00

10/4/2019 Call w/ Norris re: review of wage and hour S.K. 20 $41.00
documents.

10/4/2019 Confer with S. Kraff re tele conf with T. Goorevitz. H.B.H. 10 $40.00

 
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 8 of 13

10/4/2019

10/4/2019
10/7/2019
10/9/2019
10/9/2019
10/9/2019
10/10/2019

10/10/2019
10/10/2019

10/10/2019
10/10/2019
10/10/2019
10/10/2019
10/10/2019
10/16/2019
10/16/2019

10/18/2019
10/18/2019

10/18/2019
10/18/2019

10/21/2019
10/21/2019

10/21/2019
10/21/2019

10/21/2019

10/22/2019
10/22/2019

10/22/2019

10/22/2019

Review billing records; confer with 8. Kraff re prep
of lodestar statement. Review draft lodestar
statement; review comm from S. Kraff to T.
Goorevitz re same.

Review Order granting Motion to Extend SO.
Review Def's responses to RFAs.

Review emails between opposing counsel and HBH
re. damage calculations, document production and
settlement.

Review and respond to multi comm from opposing
counsel re status of matter.

Review draft stipulated extension; draft comm re
same.

Review consent motion to extend time to reply to
motion for sanctions.

Review Order granting consent extension.

Review filing of consent motion for extension of
time.

Review email from Goorevitz re: review of
documents.

Review email from Goorevitz re: gap in records and
settlement offer.

Review email from Goorevitz re: Mot. for
Extension,

Review Con. MTE

Review order granting MTE.

Phone conference w/ HBH and Norris re: review of
documents and settlement offer.

Tele conf with client re settlement offer; confer re
facts.

Review opposition to motion for sanctions.

Review Answers to Interrogs and RPDs from
Defendants,

Review Opposition to Motion for Sanctions.
Review additional document production from
Defendants.

Call w/ Expert Kimel re: damage calculations and
drafting expert report.

Review additional document production from
Defendants.

Call w/ Norris re: wage and hour records.

Draft 3 emails to Norris re: review of documents and
status update.

Review answers to Interrogs and RPDs from
Defendants.

Call w/ Mikki re expert report data.

2 calls with expert Kimel re: expert report and
calculations.

Review data for damage calculations for Plaintiff
and provide edits to expert Kimel.

Call with Norris re: estimations of hours worked for

H.B.H.

H.B.H.
S.K.
JL.

H.B.H.

H.B.H.
J.L.

H.B.H.
H.B.H.

S.K.
S.K.
S.K.
S.K.
S.K.
S.K.
H.B.H,

JL.
5.K.

S.K.
S.K.

S.K.
S.K.

S.K.
S.K.

S.K.

S.K.
S.K.

S.K.

S.K.

30

10
20
10
10
10
10

10
10

20
20
10
20

10
30

20
0

40
.10

30
70

.20
30

10

20
A0

90

.30

$120.00

$40.00
$41.00
$21.50
$40.00
$40.00
$21.50

$40.00
$40.00

$41.00
$41.00
$20.50
$41.00
$20.50
$61.50
$160.00

$43.00
$102.50

$82.00
$225.50

$61.50
$348.50

$41.00
$61.50

$225.50

$41.00
$82.00

$184.50

$61.50

 

   
 

 

   
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 9 of 13

10/22/2019
10/22/2019
10/22/2019
10/23/2019
10/23/2019
10/23/2019
10/23/2019
10/23/2019
10/23/2019
10/23/2019

10/23/2019
10/23/2019

10/24/2019
10/24/2019
L0/2422019

10/30/2019
10/31/2019

10/31/2019

10/31/2019

11/1/2019
LU/1/2019
11/1/2019

11/1/2019
11/5/2019

11/5/2019
11/5/2019
11/13/2019

11/13/2019

damage calculations.

Review first draft spreadsheet prepared by expert
Kimel and note edits needed.

Review emails from Plaintiff Norris re: recollections
of hours worked.

Create spreadsheet of Plaintiff's recollections of
hours worked to send to expert witness for use in
calculations.

Review draft expert report prepared by Kimel.

Call w/ Expert Kimel re: review of calculations
spreadsheet and required edits.

5 calls w/ Expert Kimel re: edits to calculations and
fixes to data therein.

Review calculations spreadsheet prepared by Kimel,
test for accuracy, and provide corrections to Kimel.
Review expert report and provide final edits to
Kimel.

Review additional documents provided by Norris re:
damage calculations.

Draft email to Norris re: update and damage
calculations.

Draft Plaintiffs Expert Designation.

Finalize and sent expert report and Plaintiff's expert
designation to Defendants.

Status Conf. w/ HBH, JSL, and SEK re: case status
and need to file request for jury trial,

Status Conf. w/ HBH, SEK, and TJM re: case status
and need to file request for jury trial.

Status Conf. w/ HBH, JSL, and TJM re: case status
and need to file request for jury trial.

Draft letter re: settlement demand.

Strategy Conf. w/ HBH, JSL, andSEK re: settlement
demand and reply to opp to motion for sanctions.
Strategy Conf. w/ HBH, JSL, and TJM re:
settlement demand and reply to opp to motion for
sanctions.

Strategy Conf. w/ HBH, JSL, and TJM re:
settlement demand and reply to opp to motion for
sanctions.

Draft Reply to Opp to Mot for Sanctions.

Review Opp to Mot for Sanctions and outline reply.
Document Review Conf. w/ HBH re: Reply to Opp
to Mot for Sanctions.

Finalize/File Reply to Opp to Mot for Sanctions

Review and revise settlement demand letter; forward H.B.H.

to opposing counsel.

Draft email to Norris re: case status update.

Review email from Norris re: request for update.
Review emails between HBH and opposing counsel
re. settlement negotiations and offers.

Review email from Goorevitz re: settlement.

S.K.
S.K.
S.K.
S.K.
S.K.
S.K.
S.K.
S.K.
S.K.
S.K.

S.K.
S.K.

T.J.M,
JL.
S.K.

S.K.
TM,

JL.

S.K.

S.K.
S.K.
S.K.

S.K.
S.K,
S.K.
JL.

S.K,

30

.60

50

40

70

10

30

40

10

20
40

10

.60
70
20)

20
50

20
10
.10

10

$102.50
$61.50
$123.00
$102.50
$82.00
$143.50
$225.50
$61.50
$82.00
$20.50

$41.00
$82.00

$15.00
$21.50
$20.50

$143.50
$15.00

$21.50

$20.50

$328.00
$143.50
$246.00

$41.00
$200.00

$41.00
$20.50
$21.50

$20.50

 

   
 

 

 
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 10 of 13

11/13/2019
11/18/2019
11/25/2019
11/25/2019
11/26/2019
11/26/2019
12/2/2019

12/2/2019

12/2/2019

12/2/2019
12/2/2019

12/2/2019

12/2/2019
12/5/2019
12/3/2019
12/5/2019
12/5/2019
12/5/2019
12/10/2019
12/11/2019
12/112019
12/11/2019
12/11/2019

12/11/2019
12/12/2019

12/12/2019

Review case status and status of settlement
discussions.

Review email from Goorevitz re: settlement call.
Review email from opposing counsel re. settlement.
Review email from Goorevitz re: call to discuss
settlement.

Conf with S. Kraff re discovery status and
production.

Strategy Conf. w/ HBH re: settlement demand and
deficiencies in Defendants’ production.

Review email from SEK to opposing counsel re.
settlement discussions.

Review and revise 30b6 notice. Draft notice of depo
re Garazo. Draft second set of interrogs. Draft
second set of RPDs. Prepare in final.

Multi conf with SK re settlement offer; review
comm from opposing counsel. Draft comm. to
opposing counsel re status of settlement.

Multi comm with client re status of matter (fact
claims and settlement).

Call w/ Goorevitz re: settlement and production of
documents.

Strategy Conf. w/ HBH re: settlement offer, case
status, drafting notice of deposition, and sending
email to Goorevitz re: same.

Review email from Goorevitz re: follow up to phone
call

Review email from opposing counsel re. settlement
offer, deposition dates, and document production.
Review email from Goorevitz re: settlement and
depositions.

Review Interrogs from Def Garazo, Interrogs from
Def Plastic Surgery, and RPDs from Defendants.
Review comm from T. Goorevitz re settlement
status.

Review comm from defense attaching written
discovery; review written discovery.

Cail w/ Mike Kimel re: need for supplemental
report.

Strategy Conf. w/ HBH re: Defendants’ production
and possible need for subpeona.

Review additional document production from
Defendants.

Draft email to Norris re: case update and deposition
dates.

Call w/ Plaintiff Norris re: case update and
deposition dates.

Draft email to Goorevitz re: gap in records.
Strategy Conf. w/ HBH re: settlement offer and
Defendants' production.

Review additional document production from

 

S.K.
S.K.
JL.
S.K.
H.B.H.
S.K.
JL.

H.B.H.

H.B.H.

H.B.H.

S.K.

S.K.

S.K.

JL.

S.K.

S.K.

H.B.H.

H.B.H.

S.K.

S.K,

S.K.

S.K.

S.K,

S.K,
S.K.

S.K.

30
10
10
.10
20
20
.10

80

60

50

30

20

40

40

10

30

10
20

60

$61.50
$20.50
$21.50
$20.50
$80.00
$41.00
$21.50

$320.00

$240.00

$200.00
$61.50

$184.50

$20.50
$21.50
$20.50
$307.50
$40.00
$120.00
$41.00
$82.00
$82.00
$20.50
$61.50

$20.50
$41.00

$123.00

 

 
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 11 of 13

12/12/2019
12/12/2019
12/12/2019
12/12/2019
12/12/2019
12/12/2019
12/12/2019
12/13/2019
12/16/2019
12/16/2019

12/16/2019
12/16/2019

12/17/2019

12/17/2019
12/17/2019

12/17/2019
12/17/2019
12/18/2019
12/18/2019
12/18/2019
12/20/2019
12/20/2019
12/20/2019
12/20/2019
12/23/2019

12/23/2019

12/23/2019

12/30/2019

Defendants.

Create damage calculations for settlement based on
new document production from Defendants.
Review email from Goorevitz re: additional
production.

Review and edit joint motion to amend scheduling
order.

Review email from SEK to opposing counsel re.
amending scheduling order and counter-offer.
Review comms from counsel; multi confs with S
Kraff re status of matter.

Draft email to Goorevitz re: settlement demand +
confer w/ HBH and content of email.

Draft Jt Mot to Extend Sched Order

Call w/ Norris re: new production from def.
Review email from opposing counsel re. consent for
extension and depo scheduling.

Review email from Goorevitz re: consent to
extension.

Edit, finalize, and file Jt Mot. for Extension.
Review email from Norris re: new information
found,

Review email from HBH to opposing counsel re.
settlement demands.

Review email from Goorevitz re: settlement offer.
Strategy Conf. w/ HBH re: damage calculations and
settlement offer.

Review damage calculations and expert report and
determine proper settlement demand amount.
Review and respond to opposing counsel with
settlement communication.

Review and calendar second amended scheduling
order.

Review Second Amended Sched. Order and
Calendar Dates

Review Order extending discovery.

Call w/ Expert Kimel re: supplemental expert report.

Strategy Conf. w/ HBH and JSL re: settlement
demand.

Strategy Conf. w/ HBH and SEK re: settlement
demand.

Review settlement comm from opposing counsel;
strategy conf with associates re response.

Review email from HBH to opposing counsel re.
attorneys' fees demand.

Review billing records and confer with assoc atty
SK. Draft comm re offer to settle attorneys fees and
costs.

Strategy Conf. w/ HBH re: settlement + draft
response to Goorevitz.

Review email between HBH and opposing counsel

 

 

S.K.
S.K.
JL.
J.L.
H.B.H.
S.K.
S.K.
S.K.
JL.
S.K.

S.K.
S.K.

JL.

S.K.
S.K.

S.K.
H.B.H.
J.L.
S.K.
H.B.H.
S.K.
S.K,
J.L.
H.B.H.
JL.

H.B.H.

S.K.

JL.

70
.10
.10
10
50
30
40
20)
10
10

50
10

10

10
40

1.20
30
10
30
10
10
10
10
30
10

20

30

10

$143.50
$20.50
$21.50
$21.50
$200.00
$61.50
$82.00
$41.00
$21.50
$20.50

$102.50
$20.50

$21.50

$20.50
$82.00

$246.00
$120.00
$21.50
$61.50
$40.00
$20.50
$20.50
$21.50
$120.00
$21.50

$200.00

$102.50

$21.50

 

ie

te
:
i
.

 
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 12 of 13

re, settlement and scheduling of depo.

 

edits to settlement agreement.

    

12/30/2019 Draft comm to TG re status of fee settlement. H.B.H. 10 $40.00
12/30/2019 Strategy Conf. w/ HBH re: settlement status. S.K. 30 $61.50
12/31/2019 Review emails between opposing counsel and HBH JL. .10 $21.50
re, settlement of attorneys’ fees.
12/31/2019 Review and draft multi comm with opposing H.B.H. 60 $240.00
counsel re status of matter.
12/31/2019 Review email from Goorevitz re: settlement. S.K. 20 $41.00
12/31/2019 Strategy Conf. w/ HBH re: settlement. S.K. 30 $61.50
12/31/2019 Review email from HBH to Norris re: settlement. S.K. 10 $20.50
12/31/2019 Review 2nd email from Goorevitz re: settlement. S.K. 10 $20.50
1/2/2020 Strategy Conf. w/ HBH re: settlement demand and S.K. 90 $184.50
response to Defendants.
1/2/2020 Review emails between HBH and opposing counsel JL. 10 $21.50
re, further issues re. attorneys’ fees and costs.
1/2/2020 Review email from Goorevitz re: settlement offer. S.K. 10 $20.50
1/2/2020 Strategy Conf. w/ HBH re: settlement offer. S.K. 20 $41.00
1/2/2020 Review 2nd email from Goorevitz re: settlement S.K, 20 $41.00
offer.
1/2/2020 Strategy Conf. w/ HBH re: settlement demands and S.K. 80 $164.00
response to Defendants’ offer.
1/2/2020 Review billed hours and prepare sorted pre-bill. S.K. 40 $82.00
1/2/2020 Review 3rd and 4th emails from Goorevitz re: S.K. .20 $41.00
settlement
1/3/2020 Review email from Goorevitz re: accepting 5.K. 10 $20.50
settlement offer.
1/3/2020 Review comm from opposing counsel re acceptance -H.B.H. 10 $40.00
re fee/costs,
1/6/2020 Draft Settlement Agreement T.IM, 80 $120.00
1/6/2020 Draft Joint motion for Approval of Settlement and T.J.M, 1.20 $180.00
proposed order
1/6/2020 Strategy Conf. w/ TJM re: Norris settlement S.K. 20 $41.00
documents.
1/7/2020 Review email from SEK to Pl. Norris re. settlement IL, 10 $21.50
of case.
1/7/2020 Draft email to Norris re: settlement. S.K. 10 $20.50
1/8/2020 Review email from HBH to opposing counsel w/ JL. 10 $21.50
draft settlement agreement.
1/9/2020 Review settlement agreement and Mot. to approve. S.K. 30 $61.50 :
1/15/2020 Review email from opposing counsel re. settlement JL. 10 $21.50 /
agreement and release. .
1/15/2020 Edit/revise Motion to Approve Settlement. S.K. 40 $82.00 :
1/15/2020 Review email from Goorevitz re: settlement. S.K. 10 $20.50 :
1/15/2020 Review file materials; revise Motion for Approval. H.B.H. .60 $240.00 .
Comm with SK re same. .
1/16/2020 Review email from Norris re: settlement update + S.K. 20 $41.00 .
draft reply with update. .
1/21/2020 Review revisions to settlement agreement and JL. 10 $21.50 -
motion. L
1/24/2020 Review email from HBH to opposing counsel re. J.L. 10 $21.50 a
Case 1:19-cv-00855-CCB Document 21-3 Filed 02/06/20 Page 13 of 13

1/24/2020 Review edits to settlement agreement and proposed —_-H.B.H. 80 $320.00
Joint Motion. Draft comm to opposing counsel re
same,

1/29/2020 Review email from HBH to PL. Norris re. settlement JL. 10 $21.50
agreement.

1/30/2020 Review email from HBH to opposing counsel re. JL. 10 $21.50
signed settiement agreement.

1/30/2020 Draft comm to opposing counsel; transmit signed H.B.H. 20 $80.00
settlement agreement.

2/3/2020 Review email from HBH to opposing counsel re. JL. 10 $21.50
signature on settlement documents.

2/3/2020 Review emails from opposing counsel re. signed JL, 10 $21.50
settlement agreement.

2/3/2020 Status confer w/ HBH and SEK re, status of JL. 10 $21.50
settlement.

2/6/2020 Draft Declaration re settlement/fees. Revise Jt. H.B.H. 1.30 $520.00
Motion for Approval. File same via ECF.

2/6/2020 Draft declaration for motion for settlement. J.L. 20 $43.00

SUBTOTAL: 114.80 $26,869.00

Costs

3/21/2019 Filing Fee $400.00

3/27/2019 Postage for 4(d) waiver of service. $14.90

11/19/2019 Expert Witness $955.00

SUBTOTAL: $1,369.90

Matter Ledgers
SUBTOTAL:

Trust Account

2/6/2020 Previous Balance $0.00
Available in Trust: $0.00
TOTAL $28,238.90

PREVIOUS BALANCE DUE $0.00

pier

 

CURRENT BALANCE DUE AND OWING $28,238.90

 

i

 
